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                             7
                             8                      UNITED STATES DISTRICT COURT
                             9                    CENTRAL DISTRICT OF CALIFORNIA
                       10
                       11 PETER STROJNIK, SR.,                       Case No. 8:19-cv-01560-JVS-JDE
                       12                  Plaintiff,
                                                                     DEFENDANT SCG AMERICAN
                       13            VS.                             CONSTRUCTION INC.’S NOTICE
                                                                     OF MOTION AND MOTION TO
                       14 SCG AMERICAN CONSTRUCTION                  DISMISS PLAINTIFF’S SECOND
                                 INC. DBA HYATT REGENCY              AMENDED COMPLAINT [ECF
                       15 ORANGE COUNTY,                             #27]; MEMORANDUM OF POINTS
                                                                     AND AUTHORITIES IN SUPPORT
                       16                  Defendant.                THEREOF
                       17                                            Hearing Date: August 3, 2020
                                                                     Time:         1:30 p.m.
                       18                                            Judge:        Hon. James V. Selna
                       19
                       20
                       21            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                       22            NOTICE IS HEREBY GIVEN that, on August 3, 2020 at 1:30 p.m., or as
                       23 soon thereafter as the motion may be heard by the Honorable James V. Selna in
                       24 Courtroom 10C of the United States District Court for the Central District of
                       25 California at 411 West 4th Street, Santa Ana, California 92701, Defendant SCG
                       26 American Construction Inc. (“Defendant”) will move to dismiss Plaintiff Peter
                       27 Strojnik’s (“Plaintiff”) First Amended Complaint and to Declare Plaintiff a
                       28 Vexatious Litigant.
     BUCHALTER
A PROFESSIONAL CORPORATION
       LOS ANGELES
                                 NOTICE OF MOTION AND MOTION TO DISMISS       Case No. 8:19-cv-01560-JVS-JDE
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                             1         This Motion is brought pursuant to the Court’s April 20, 2020 order (Dkt. 25),
                             2 Federal Rule of Civil Procedure 12(b)(1), 12(b)(6), 12(c), 12(h)(3), and 28 U.S.C.
                             3 §1651. This motion is made on the grounds that the allegations in the Complaint fail
                             4 to state a claim or establish subject matter jurisdiction under Article III. This Motion
                             5 is based upon the following Memorandum of Points and Authorities, the pleadings
                             6 on file, and the accompanying Request for Judicial Notice and its exhibits on file,
                             7 and any oral arguments allowed by the Court. A Proposed Order has also been lodged
                             8 with the Court.
                             9 DATED: May 4, 2020                       BUCHALTER
                                                                        A Professional Corporation
                       10
                       11
                                                                        By: /s/ Rick A. Waltman
                       12                                                            TRACY A. WARREN
                                                                                     RICK A. WALTMAN
                       13                                                           Attorneys for Defendant
                                                                            SCG AMERICAN CONSTRUCTION,
                       14                                                                    INC.
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     BUCHALTER
A PROFESSIONAL CORPORATION
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       LOS ANGELES
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                             1                  MEMORANDUM OF POINTS AND AUTHORITIES
                             2 I.        INTRODUCTION
                             3           The Court’s most recent order declared Plaintiff Peter Strojnik (“Strojnik”) a
                             4 vexatious litigant, dismissed his First Amended Complaint (“FAC”), and gave him
                             5 another chance to amend his allegations to establish standing. (Dkt. 25.) That same
                             6 day, Strojnik filed his Second Amended Complaint (“SAC”), which merely recites
                             7 the allegations from his FAC with immaterial additions that do nothing to address the
                             8 Court’s bases for dismissal. (Dkt. 27.) Strojnik did not obtain leave to file his SAC.1
                             9           Plaintiff does not, and cannot, allege that he actually suffered an injury-in-fact
                       10 because of any actual barriers at Defendant’s Hotel. As this Court ruled only two
                       11 weeks ago:
                       12                [B]ecause Strojnik fails to allege that SCG American did not make
                       13                accessibility information available to a third party booking site, and
                                         because he did not state what was missing from SCG American’s
                       14                website or connect that missing information to his disability, Strojnik
                                         has not stated an ADA claim and does not have standing.
                       15 (Dkt. 25 at Page ID #:645.) And, “[b]ecause Strojnik has not explained how these
                       16 alleged barriers deny him full and equal access as a result of his disability.” (Dkt. 25
                       17 at Page ID #:646.) No allegations in Plaintiff’s SAC address this Court’s or the 9th’s
                       18 Circuit’s concerns,2 and his claims still fail.
                       19                Strojnik was not harmed, did not encounter any barriers, does not describe any
                       20 barriers to his access, and does not allege genuine deterrence or intent to return to the
                       21 Hotel. Nothing in the SAC remedies Strojnik standing allegations. This Court should
                       22 therefore dismiss Strojnik’s SAC with prejudice.
                       23
                       24        1
                                   The Court’s order stated Strojnik may not file another action in this District
                                 “without first obtaining certification from the Chief Judge of the District Court that
                       25        his claims are not frivolous or asserted for an improper purpose.” (Dkt. 25 at p.
                                 14.) Strojnik did not obtain certification from the Chief Judge to file his SAC, and
                       26        it should be dismissed for that reason. If the SAC is not dismissed for this reason, it
                                 still fails for the same reasons as discussed in Defendant’s first two motions to
                       27        dismiss, and for those discussed herein.
                                 2
                                   See Strojnik v. Kapalua Land Co., 379 F. Supp. 3d 1078 (April 14, 2020) (“The
                       28        district court properly dismissed Strojnik's ADA claim against defendants.”).
     BUCHALTER
A PROFESSIONAL CORPORATION
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                             1 II.     BACKGROUND & FACTUAL ALLEGATIONS
                             2         Strojnik filed a Complaint in this action on August 13, 2019. (Dkt. 1.) On
                             3 February 26, 2020, Defendant filed a motion to dismiss and declare Plaintiff a
                             4 vexatious litigant. (Dkt. 19.) Rather than stand by his initial allegations, Strojnik
                             5 filed a FAC. (Dkt. 20.)
                             6         On April 20, 2020, this Court dismissed Strojnik’s FAC without prejudice,
                             7 and declared him a vexatious litigant requiring him to obtain approval before filing
                             8 any further complaints in the Central District of California. (Dkt. 25.) That same
                             9 day, Strojnik filed his SAC. (Dkt. 27.)
                       10              Strojnik’s SAC does not materially change his allegations in this matter.
                       11 Strojnik alleges that he is a resident of Maricopa County, and that he suffers from
                       12 “severe right-sided neural foraminal stenosis with symptoms of femoral
                       13 neuropathy, prostate cancer and renal cancer, [and a] degenerative right knee.” SAC
                       14 ¶ 3. He “walks with difficulty and requires compliant mobility accessible features at
                       15 places of public accommodation.” Id. ¶ 5. Strojnik’s SAC again discusses his
                       16 alleged medical problems with references to the ADAAG, claiming that such
                       17 problems substantially limit his ability to walk, stand, sit, bend, reach, sleep, and
                       18 work, while at the same time alleging that he spends his days and thousands of
                       19 miles traveling throughout the state of California for ADA testing. See SAC, ¶¶ 6,
                       20 14.
                       21              Defendant owns, operates, or leases a lodging business located at 11999
                       22 Harbor Blvd., Garden Grove, CA 92840 (“Hotel”). SAC ¶ 8. Strojnik initially
                       23 claimed that he “intended to the Disneyland area” on an unspecified date. (Dkt. 1.)
                       24 He now claims that he “intended to visit the Disneyland area on March 14-15, 2019.”
                       25 SAC ¶ 18. Strojnik’s FAC vaguely claims that “Plaintiff learned that not only did
                       26 Defendant's hotel violate booking websites disclosures pursuant to 28 C.F.R.
                       27 36.302(e), but it was also replete with accessibility barriers all of which Plaintiff
                       28 documented with website screenshots and documentary photographs.” SAC ¶ 20.
     BUCHALTER
A PROFESSIONAL CORPORATION
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                             1 Strojnik again incorporates a series of photos and opaque descriptions that were
                             2 previously contained in an addendum to his initial complaint. Id. Strojnik again lists
                             3 the unspecified “ADA violations” and leaves the Court to guess what each of the
                             4 alleged ADA violations are, and how they relate to his alleged disability. Id. The
                             5 SAC adds two paragraphs that effectively reiterate these same “ADA violations.”
                             6 SAC ¶¶ 21-22.
                             7           Strojnik still vaguely claims he is and was deterred from visiting Defendant’s
                             8 Hotel based on his knowledge of these barriers. SAC ¶ 14. Strojnik’s SAC alleges he
                             9 intends to visit “the greater Los Angeles3 area on or about the weekend of April 4” if
                       10 “Defendant’s noncompliant Hotel becomes fully compliant with the ADAAG.” Id.
                       11 ¶¶ 14(h). Notably, Strojnik alleged in another action filed in the Northern District of
                       12 California that he plans to visit “the Napa area” during that same weekend of April
                       13 4, 2020.4 Napa is over 425 miles away from Defendant’s Hotel, and even farther
                       14 from Strojnik’s home.
                       15 III.           LEGAL STANDARDS
                       16                Rule 12(b)(1) empowers the court to dismiss claims over which it lacks subject
                       17 matter jurisdiction. Fed. R. Civ. P. 12(b)(1). A defendant may bring a Rule 12(b)(1)
                       18 motion to dismiss based on lack of standing. White v. Lee, 227 F.3d 1214, 1242 (9th
                       19 Cir. 2000). A Rule 12(b)(1) jurisdictional challenge may be facial or factual. Safe Air
                       20 for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). In a facial attack, the
                       21 moving party asserts that the allegations in the complaint are “insufficient on their
                       22 face” to establish federal jurisdiction. Id. A factual jurisdictional challenge occurs
                       23 when the moving party “disputes the truth of the allegations that, by themselves,
                       24 would otherwise invoke jurisdiction.” Safe Air, 373 F.3d at 1039. In resolving a
                       25 factual dispute, “the court need not presume the truthfulness of the plaintiff’s
                       26 allegations” and may review evidence beyond the complaint. Id.
                       27        3
                           Disneyland is based in Anaheim, CA, not Los Angeles.
                                 4
                           See Strojnik v. IA Lodging Napa First LLC, dba Andaz Napa, No. 19-cv-03983-
                       28 DMR, Doc. No. 50, ¶ 21(e).
     BUCHALTER
A PROFESSIONAL CORPORATION
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                             1         Under Rule 12(b)(6), a complaint or any portion thereof may be dismissed
                             2 when it is apparent from the face of the pleadings that the plaintiff has failed to state
                             3 a claim upon which relief can be granted. See Fed. R. Civ. P. 12(b)(6). “[W]hen ruling
                             4 on a defendant’s motion to dismiss, a judge must accept as true all of the factual
                             5 allegations contained in the complaint.” Erickson v. Pardus, 551 U.S. 89, 94 (2007)
                             6 (per curiam). However, a court is “not bound to accept as true a legal conclusion
                             7 couched as a factual allegation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
                             8 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “Nor does a complaint suffice
                             9 if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id.
                       10 (quoting Twombly, 550 U.S. at 557). A complaint must “state a claim to relief that is
                       11 plausible on its face.” Twombly, 550 U.S. at 570. This means that the complaint must
                       12 plead “factual content that allows the court to draw the reasonable inference that the
                       13 defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. There must
                       14 be “sufficient allegations of underlying facts to give fair notice and to enable the
                       15 opposing party to defend itself effectively…and factual allegations that are taken as
                       16 true must plausibly suggest entitlement to relief, such that it is not unfair to require
                       17 the opposing party to be subjected to the expense of discovery and continued
                       18 litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).
                       19              Ruling on a motion to dismiss is “context-specific task that requires the
                       20 reviewing court to draw on its judicial experience and common sense. But where the
                       21 well-pleaded facts do not permit the court to infer more than the mere possibility of
                       22 misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the pleader
                       23 is entitled to relief.’” Iqbal, 556 U.S. at 679.
                       24              Leave to amend may be denied when “the court determines that the allegation
                       25 of other facts consistent with the challenged pleading could not possibly cure the
                       26 deficiency.” Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401
                       27 (9th Cir. 1986).
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                             1 IV.     STROJNIK STILL LACKS STANDING AND FAILS TO STATE A
                             2         CLAIM UNDER THE ADA.
                             3         Strojnik still does not establish standing, and fails to state a claim under the
                             4 ADA. A disabled person claiming access discrimination in violation of the ADA
                             5 must establish Article III standing in order to maintain their lawsuit. Chapman v. Pier
                             6 1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th Cir. 2011). Article III standing requires
                             7 that Plaintiff sufficiently plead an (1) injury-in-fact, (2) that is causally connected to
                             8 the Defendant’s challenged conduct, and (3) likely to be “redressed by a favorable
                             9 decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). An injury-
                       10 in-fact must be (a) actual or imminent, not conjectural or hypothetical, and (b)
                       11 concrete and particularized. Id. at 560. Because injunctive relief is the only remedy
                       12 available to individuals under Title III of the ADA, Plaintiff must also show that he
                       13 faces a “real and immediate threat of repeated injury” to establish an injury-in-fact
                       14 for purposes of standing. Chapman, 631 F.3d at 946. The Ninth Circuit has held that
                       15 there are two ways in which an ADA plaintiff may establish standing to sue for
                       16 injunctive relief: the plaintiff can either demonstrate “deterrence” or “injury-in-fact
                       17 coupled with an intent to return to a noncompliant facility.” Id. at 944. “If the court
                       18 determines at any time that it lacks subject-matter jurisdiction, the court must dismiss
                       19 the action.” Chapman, 631 F.3d at 954. Courts have found this is especially true in
                       20 ADA cases. Vogel v. Sym Props., LLC, No. CV 15-098550AB (ASx), 2017 U.S. Dist.
                       21 LEXIS 214360, at *4 (C.D. Cal. Aug. 4, 2017).
                       22              A.     Strojnik Cannot Show An Injury In Fact or State A Claim.
                       23              Strojnik still fails to credibly allege that he suffered an injury-in fact—which
                       24 must be “concrete and particularized” and “actual or imminent,” not conjectural or
                       25 hypothetical. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). A
                       26 plaintiff “lacks standing…if the barriers he seeks to enjoin do not pose a real and
                       27 immediate threat to him due to his particular disability.” Chapman v. Pier 1
                       28 Imports (U.S.) Inc., 631 F.3d 939, 953 (9th Cir. 2011) (emphasis added). “A bare
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                             1 procedural violation unassociated with a plaintiff’s particular disability cannot
                             2 satisfy the demands of Article III standing.” Gastelum v. Canyon Hosp. LLC, No.
                             3 CV-17-02792-PHX-GMS, 2018 WL 2388047, at *5 (D. Ariz. May 25, 2018)
                             4 (quoting Spokeo, Inc. v. Robbins, 136 S. Ct. 1540, 1550 (2016)). Given the “trend
                             5 of abusive ADA litigation, special diligence and vigilant examination of the
                             6 standing requirement are necessary and appropriate to ensure the litigation serves
                             7 the purpose for which the ADA was enacted.” Harris v. Stonecrest Care Auto
                             8 Center, 472 F. Supp. 2d 1208, 1215 (S.D. Cal. 2007).
                             9        In his SAC, Plaintiff vaguely alleges “Defendant’s hotel violate booking
                       10 websites disclosures pursuant to 28 C.F.R. 36.302(e), but it was also replete with
                       11 accessibility barriers.” SAC ¶ 20. “However, there are still no allegations containing
                       12 ‘further factual enhancement’ to support these naked assertions.” Strojnik v.
                       13 Orangewood LLC, No. 8:19-cv-00496-DSF-(JCx), Dkt. 43 at 7 (C.D. Cal. Oct. 21,
                       14 2019) (quoting Iqbal, 556 U.S. at 678) (“Orangewood”). The SAC incorporates
                       15 screenshots of the websites with captions identifying alleged barriers, but the
                       16 captions and later paraphrasing are “bare legal conclusions cast in the form of factual
                       17 allegations.” Strojnik v. Four Sisters Inns, Inc., No. 2:19-cv-02991-ODW (JEMx),
                       18 2019 U.S. Dist. LEXIS 212094, at *7 (C.D. Cal. Dec. 9, 2019) (“[T]hese captions in
                       19 the Addendum are bare legal conclusions cast in the form of factual allegations.”).
                       20 As a court in the Central District noted, “[i]t is not enough for Plaintiff to claim in
                       21 conclusory fashion that the Websites do not have ‘enough detail to reasonably permit
                       22 Plaintiff to assess independently whether Defendant’s Hotel meets his accessibility
                       23 needs.’ He must allege what information is missing from the website.” Strojnik v.
                       24 Orangewood LLC, No. 8:19-cv-00946-DSF-GJS, 2020 U.S. Dist. LEXIS 11743, at
                       25 *19-20 (C.D. Cal. Jan. 22, 2020). Here, “[b]eyond repetition of the statutory text,
                       26 [Strojnik] has not alleged any specific information that was missing on the website[s]
                       27 that would prevent him from being able to stay at the Hotel.” Id. at *20.
                       28             To the extent any accessibility information was missing from the websites, the
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                             1 court in Orangewood made clear that “a website need not list its compliance or non-
                             2 compliance with every ADAAG provision to satisfy 28 C.F.R. § 36.302(e)(ii).”
                             3 Strojnik v. Orangewood LLC, No. 8:19-cv-00946-DSF-GJS, 2020 U.S. Dist. LEXIS
                             4 11743, *20 (C.D. Cal. Jan. 22, 2020). The Court in Orangewood explained:
                             5              The 2010 DOJ ADAAG Guidance on this provision
                                            ‘recognizes that a reservations system is not intended to be
                             6              an accessibility survey,’ and ‘[b]ecause of the wide
                                            variations in the level of accessibility that travelers will
                             7              encounter . . . it may be sufficient to specify that the hotel
                                            is accessible” and to provide basic facts about each
                             8              accessible room. 28 C.F.R. § Pt. 36, App. A. Further, the
                                            DOJ acknowledges that “individuals with disabilities may
                             9              wish to contact the hotel or reservations service for more
                                            detailed information.” Id. This provides further support
                       10                   that websites need not include all potentially relevant
                                            accessibility information; if a website was required to have
                       11                   all relevant information, individuals would not need to call
                                            the hotel to get further information.
                       12
                       13 Strojnik v. Orangewood LLC, 2020 U.S. Dist. LEXIS 11743, at *20-21.
                       14             Many other district courts and the 9th Circuit have also reached the same
                       15 conclusion regarding Strojnik’s functionally identical complaints. See Strojnik v.
                       16 Kapalua Land Co., 379 F. Supp. 3d 1078 (April 14, 2020) ("The district court
                       17 properly dismissed Strojnik's ADA claim against defendants"), affirming Strojnik v.
                       18 Kapalua Land, 2019 U.S. Dist. LEXIS 165525, at *9 (D. Haw. Aug. 26, 2019)
                       19 (“Plaintiff fails to cite any legal authority providing that failure to detail all accessible
                       20 and inaccessible elements of a public accommodation results in an ADA violation.”);
                       21 Strojnik v. 1315 Orange LLC, No. 19-cv-1991-LAB (JLB), 2019 U.S. Dist. LEXIS
                       22 185481, at *2 (S.D. Cal. Oct. 25, 2019) (Plaintiff “does not cite any authority
                       23 suggesting a hotel has an obligation to describe to the public the physical layout of
                       24 its rooms in exhaustive detail without being asked”); Barnes v. Marriott Hotel Servs.,
                       25 Inc., No. 15-cv-014090-HRL, 2017 U.S. Dist. LEXIS 22588, at *10 (N.D. Cal. Feb.
                       26 16, 2017) (granting summary judgment where the website “provides descriptions of
                       27 accessible features…that include the level of detail proposed by the ADA Guidance
                       28 document”).
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                             1         Strojnik does not allege that he visited the Hotel, or that he actually
                             2 encountered any actual barriers. Not only does he fail to identify what barriers
                             3 existed, he fails to allege any facts explaining how the purported barriers “relate” to
                             4 his own disability. Chapman, 631 F.3d at 947. The Ninth Circuit has held that a
                             5 plaintiff “does not have standing to challenge those barriers that would burden or
                             6 restrict access for a person” with a disability different than the plaintiff’s disability.
                             7 See Doran v. 7-Eleven, Inc., 524 F.3d 1034, 1044 n. 7 (9th Cir. 2008) (holding that,
                             8 plaintiff, a wheelchair user, “cannot challenge all of the ADA violations in the 7-
                             9 Eleven store…Doran may challenge only those barriers that might reasonably affect
                       10 a wheelchair user’s full enjoyment of the store.”).
                       11              The captions under each of Strojnik’s photos, as well as his added
                       12 paraphrasing, are “bare legal conclusions cast in the form of factual allegations, with
                       13 no specification as to how any alleged barrier violates any aspect of the ADA or any
                       14 related accessibility guidelines.” Strojnik v. Hotel Circle GL Holdings, LLC, No. 19-
                       15 cv-01194-DAD-EPG, 2019 U.S. Dist. LEXIS 202591, *8 (E.D. Cal. Nov. 21, 2019).
                       16 Although Strojnik references the ADAAG in his SAC, he does not allege what
                       17 provisions of the ADAAG any of the alleged barriers depicted in the photographs
                       18 purportedly violated. “It is therefore altogether unclear from the allegations of the
                       19 [SAC]…whether what [Strojnik] alleges are in fact ADA violations at all.” Strojnik
                       20 v. Hotel Circle GL Holdings, LLC, No. 19-cv-01194-DAD-EPG, 2019 U.S. Dist.
                       21 LEXIS 202591, at *8-9 (E.D. Cal. Nov. 21, 2019); see also Strojnik v. Four Sisters
                       22 Inns, Inc., No. 2:19-cv-02991-ODW (JEMx), 2019 U.S. Dist. LEXIS 212094, at *7
                       23 (C.D. Cal. Dec. 9, 2019) (“[T]hese captions in the Addendum are bare legal
                       24 conclusions cast in the form of factual allegations.”); Strojnik v. Pasadena Robles
                       25 Acquisition, LLC, Case No. 2:19-cv-02067-AB (PJWx), 2019 U.S. Dist. LEXIS
                       26 213070, at *4 n. 1 (C.D. Cal. Aug. 14, 2019) (same).
                       27              Even if the SAC plausibly alleged barriers to accessibility at the Hotel (it does
                       28 not), the SAC still fails to allege how any of the purported barriers relate to Strojnik’s
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                             1 specific disability. Strojnik simply asserts in a conclusory manner that the alleged
                             2 barriers were “relat[ed] to [his] disability and interfere[d] with [his] full and complete
                             3 enjoyment of the Hotel” without any further explanation. SAC ¶ 23. Strojnik must
                             4 allege “more than labels and conclusions.” Strojnik v. Bakersfield Convention Hotel
                             5 I, LLC, No. 19-cv-01098 LJO JLT, 2020 U.S. Dist. LEXIS 16339, *10 (E.D. Cal.
                             6 Jan. 31, 2020) (plaintiff “cannot satisfy the demands of Article III by alleging a bare
                             7 procedural violation…The allegation Plaintiff has made is no more than bare legal
                             8 conclusion). As discussed in Chapman, Strojnik “leaves the federal court to guess
                             9 which, if any, of the alleged violations” apply to his disability. See Chapman, 631
                       10 F.3d at 955. Plaintiff must do more than merely identify barriers that he
                       11 encountered—he must plead how each barrier affected him because of his disability.
                       12 Chapman, 631 F.3d at 954 (“The Accessibility Survey simply identifies alleged ADA
                       13 and CBC violations without connecting the alleged violations to [Plaintiff]
                       14 Chapman's disability, or indicating whether or not he encountered any one of them
                       15 in such a way as to impair his full and equal enjoyment of the Store.”); Four Sisters,
                       16 2019 U.S. Dist. LEXIS 212094, at *3 (holding that the facts alleged by Strojnik fail
                       17 to “explain how the purported barriers violate the ADA, relate to his particular
                       18 disability, or interfere with his use or enjoyment of the Hotel”); Hotel Circle, 2019
                       19 U.S. Dist. LEXIS 202591, 2019 WL 6212084, at *3 (same); Bakersfield Convention
                       20 Hotel I, 2020 U.S. Dist. LEXIS 16339, at *10-11 (same).
                       21               Here, as in Strojnik v. Orangewood, LLC, Plaintiff still “does not identify what
                       22 features or information Plaintiff requires for his accessibility needs . . . [and] . . .
                       23 Plaintiff must do more than merely identify barriers that he encountered – he must
                       24 plead how each barrier affected him because of his disability.” No. 8:19-cv-00946-
                       25 DSF-GJS, ECF No. 18 at 7 (C.D. Cal. Aug. 8, 2019) (citing Chapman, 631 F.3d at
                       26 954).5 Strojnik v. Orangewood, along with a growing number of federal courts
                       27       5
                                    The Orangewood Court noted:
                                        In its two prior Orders dismissing Plaintiff's complaints, the Court
                       28               has made clear that Plaintiff must plead how each alleged barrier
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                             1 (including this one), held that because Plaintiff failed to plead how such barriers
                             2 related to his disability, or any facts to support an injury because of those barriers, he
                             3 failed to establish standing under Article III. Id.; see also Strojnik v. Kapalua Land
                             4 Co. Ltd., No. 19-cv-00077-SOM-KJM, 2019 WL 4684450 (D. Haw. Sept. 25,
                             5 2019);Strojnik v. Pasadena Robles, No. 2:19-cv-02067-AB-PJW, ECF No. 23 at 4
                             6 n.1 (C.D. Cal. Aug. 14, 2019) (“[W]hile Plaintiff asserts that he was deterred from
                             7 staying at Defendant’s hotel because of access barriers he became aware of, the
                             8 Complaint is devoid of facts alleging what these access barriers are. And, having
                             9 failed to articulate in allegations what the specific barriers are, Plaintiff also failed to
                       10 tie them to his alleged disability as required.”); Strojnik v. Victus Grp., Inc., No. 1:18-
                       11 cv-01620-AWI-SKO, ECF No. 16 at 6 (E.D. Cal. March 27, 2020) (“Victus”) (there
                       12 are “insufficient factual allegations that justify an inference that Strojnik would
                       13 attempt to book a room and stay with SSR if the barriers relating to his disability are
                       14 actually remedied or otherwise brought in to compliance with the ADA.”)6; Strojnik
                       15 v. Swantown Inn & Spa LLC, No. 2:18-cv-01831-RBL, ECF No. 12 at 3 (W.D. Wash.
                       16 Mar. 12, 2019) (dismissing case with prejudice and noting “Strojnik’s history of
                       17
                       18
                       19              affected him because of his disability. Although purporting to
                                       “strictly, absolutely and unquestionably correct[] the imperfections in
                       20              [the] FAC,” Plaintiff again parrots conclusions, rather than providing
                                       facts. Allegations that “the barriers at [a public accommodation]
                       21              'denied [plaintiff] full and equal enjoyment' is precisely the 'formulaic
                                       recitation' of the elements of a claim that the Supreme Court has
                       22              deemed insufficient under Rule 8. . . . [A plaintiff] must do more than
                                       offer ‘labels and conclusions' that parrot the language of the ADA.”
                       23              Plaintiff has failed to do so.
                                Strojnik v. Orangewood LLC, No. CV 19-00946 DSF (JCx), 2020 U.S. Dist. LEXIS
                       24       11743, at *10-11 (C.D. Cal. Jan. 22, 2020) (internal citations omitted) (emphasis
                                added).
                       25       6
                                  The Victus Court declined to adopt the Magistrate’s recommendations, issued in
                                September 2019, because the “body of case law had not developed by the time the
                       26       F&R was issued, and thus, was not available to the Magistrate Judge.” No. 1:18-cv-
                                01620-AWI-SKO , ECF No. 16 at 6 n.1. That same argument applies to the
                       27       November 2019 magistrate decision from Strojnik v. GF Carneros Tenant, LLC,
                                No. 3:19-cv-03583-JSC, ECF No. 28 (N.D. Cal. Nov. 13, 2019) (“GF Carneros”),
                       28       cited by Plaintiff in his Opposition (Opp. at 2-4), which is clearly an outlier.
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                             1 predatory, unethical filings and hard-to-believe assertions”).7
                             2           The facts in Strojnik’s SAC are no different, and the Court’s reasoning should
                             3 be no different. Strojnik once again fails to provide anything more than vague and
                             4 conclusory assertions regarding the barriers he allegedly encountered at the Hotel.
                             5 He still fails to allege facts showing an ADA violation that relates to Strojnik’s
                             6 specific disability. The SAC therefore fails to allege an injury-in-fact and fails to
                             7 state a claim, and should be dismissed with prejudice.
                             8           B.    Strojnik Fails to Allege Facts Showing a Threat of Repeated Injury
                             9           Strojnik also still fails to allege “a sufficient likelihood that he will again be
                       10 wronged in a similar way” as required. Los Angeles v. Lyons, 461 U.S. 95, 111
                       11 (1983). Federal courts must make “case-by-case determinations about whether a
                       12 particular plaintiff’s injury is imminent.” Civil Rights Educ. & Enforcement Ctr. v.
                       13 Hosp. Properties Trust (“CREEC”), 867 F.3d 1093 (9th Cir. 2017) 6 (citing Houston
                       14 v. Marod Supermarkets, Inc., 733 F.3d 1323, 1335-37 (11th Cir. 2013) (assessing
                       15 various factors in determining whether plaintiff suing under ADA Title III was likely
                       16 to actually visit the supermarket, including prior visits, proximity of residence to
                       17 store, plans for future visits, and status as an “ADA tester who has filed many similar
                       18 lawsuits”). For Plaintiff to allege an injury that is “imminent,” he must express more
                       19
                       20        7
                                   See also Strojnik v. San Diego Farah Partners, L.P., 2020 U.S. Dist. LEXIS
                       21        36536 (S.D. Cal. Mar. 2, 2020) (“Despite its laundry list of purported ADA
                                 violations, Strojnik’s Complaint is silent as to how the barriers affected him
                       22        personally. It is not enough for an ADA litigant to inspect a property and identify
                       23        potential violations—he must specifically plead ‘how his disability was affected by
                                 [the barriers] so as to deny him the “full and equal” access that would satisfy the
                       24        injury-in-fact requirement.”); see also Strojnik v. Wickstrom Hosp., LLC, 2020 U.S.
                       25        Dist. LEXIS 52889 (E.D. Cal. Mar. 25, 2020) (Report and Recommendation that
                                 Strojnik’s complaint be dismissed for lack of standing, ruling that Strojnik’s
                       26        conclusory allegations failed to establish injury in fact, an intent to return to the
                       27        specific hotel or deterrence. The allegations of deterrence and intent to return are
                                 identical to those at issue here.)
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                             1 than a “vague desire to return” to the Hotel. Summers v. Earth Island Inst., 555 U.S.
                             2 488, 496 (2009). Absent a “firm intention to visit” the location, Plaintiff has not
                             3 alleged sufficient facts “to satisfy the requirement of imminent injury[.]” Id. “General
                             4 statements regarding Plaintiff’s intent to travel to an area . . . are insufficient to allege
                             5 an ‘actual and imminent’ injury.” Brooke v. Choice Hotels Int’l, Inc., No. 3:16-cv-
                             6 00310, 2016 WL 2594070, at *3 (S.D. Cal. May 5, 2016) (citing Summers, 555 U.S.
                             7 at 493).
                             8         A plaintiff’s mere “profession of an intent to return…[is] simply not enough”
                             9 for standing. Lujan, 504 U.S. at 564. The Court in Lujan ruled that “such ‘some day’
                       10 intentions—without any description of concrete plans, or indeed even any
                       11 specification of when the someday will be” do not establish an intent to return as
                       12 necessary for standing. Id. In assessing the genuineness of an expressed intent to
                       13 return, courts in the Ninth Circuit often consider four factors: (1) the proximity of the
                       14 place of public accommodation to plaintiff’s residence, (2) plaintiff’s past patronage
                       15 of defendant’s business, (3) the definitiveness of plaintiff’s plans to return, and (4)
                       16 the plaintiff’s frequency of travel near defendant’s location area. See Johnson v.
                       17 Overlook At Blue Ravine, LLC, 2012 U.S. Dist. LEXIS 102056 at *8 (E.D. Cal. July
                       18 20, 2012). Each of these factors weighs against Plaintiff.
                       19              First, Strojnik lives more than 360 miles from the Hotel. Strojnik v. Pasadena
                       20 Robles Acquisition, LLC, Case No. 2:19-cv-02067-AB (PJWx), 2019 U.S. Dist.
                       21 LEXIS 213070, at *6 (C.D. Cal. Aug. 14, 2019). If a plaintiff lives more than 100
                       22 miles from the public accommodation, “the distance subverts a professed intent to
                       23 return.” Id. (citing Molski v. Kahn Winery, 405 Supp. 2d 1160 (C.D. Cal. 2005));
                       24 Brother v. Tiger Partner, LLC, 331 F. Supp. 2d 1368, 1373 (M.D. Fla. 2004) (finding
                       25 plaintiff failed to establish likelihood of future harm in part because he lived 280
                       26 miles from the defendant’s hotel).
                       27              Strojnik does not allege he ever visited or intended to stay at the Hotel. Rather,
                       28 Plaintiff merely alleges he intends to return to the area, and maybe visit the
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                             1 Defendant’s Hotel when it becomes ADA compliant. Plaintiff’s statements are
                             2 exactly the kind of “mere profession of an intent” that the Supreme Court has deemed
                             3 insufficient to establish standing under Article III. Lujan, 504 U.S. at 564 at n. 2;
                             4 Strojnik v. Pasadena Robles Acquisition, LLC, 2019 U.S. Dist. LEXIS 213070, at *6-
                             5 7 (C.D. Cal. Aug. 14, 2019) (“Like in Lujan, this is a general intent to return without
                             6 more and is simply Plaintiff saying he will ‘some day’ return to Defendant’s hotel,
                             7 such statements are not enough to confer standing.”).
                             8         The Pasadena Robles court further noted that:
                             9                In addition, the purpose of the “intent to return” road to
                                              standing is to show that the plaintiff will likely be harmed
                       10                     because barriers ‘continue to exist at a place of public
                                              accommodation to which he intends to return.”’ Chapman,
                       11                     631 F.3d at 953. Here, Plaintiff’s intent to return is
                                              expressly contingent on the hotel coming into compliance
                       12                     with the ADA, thus Plaintiff will not return unless the
                                              hotel comes into compliance so he will necessarily not
                       13                     encounter accessibility barriers at that time. Plaintiff’s
                                              own intent allegation therefore forecloses standing based
                       14                     on the intent to return option.
                       15
                                 Strojnik v. Pasadena Robles Acquisition, LLC, 2019 U.S. Dist. LEXIS 213070, at *7
                       16
                                 (C.D. Cal. Aug. 14, 2019) (dismissing complaint for lack of standing) (emphasis
                       17
                                 added); Strojnik v. Four Sisters Inns, Inc., No. 2:19-CV-02991-ODW (JEMx), 2019
                       18
                                 U.S. Dist. LEXIS 212094, *10 (C.D. Cal. Dec. 9, 2019) (same).
                       19
                                       Moreover, Plaintiff’s professed intent to return is simply implausible given the
                       20
                                 over 140 of ADA actions he has filed throughout the state of California since April
                       21
                                 2018; 31 of which have been filed in this District alone. (RJN, Dkt. 19-1, Exh. 1.)
                       22
                                 All of these newly filed lawsuits contain the same or substantially similar allegations
                       23
                                 against other hotels. See Gastelum v. Canyon Hospitality LLC, 2018 U.S. Dist.
                       24
                                 LEXIS 87850, at *7 (D. Ariz. May 25, 2018) (“While the need to look at the
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                                 specificity with which the Plaintiff has pleaded the likelihood of future visits might
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                                 be less stringent had he only sued one hotel in the Phoenix area, …the inquiry must
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                                 be more exacting where he has expressed only a rote intent to ‘book rooms’ in 133
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                             1 other lodgings in the same geographic area.”). Plaintiff’s over 140 complaints (and
                             2 counting) contain the same or substantially similar allegations against other hotels.
                             3 (See e.g., Dkt. 19-1-8.). His conveniently vague allegations in all of these cases that
                             4 he intends to return to all of the hotels, including the Hotel here, are simply
                             5 implausible, and likely impossible.        Plaintiff’s professed intent to return is
                             6 disingenuous, which vitiates his standing.
                             7        Strojnik still fails to show that he has a genuine intent to return to the Hotel.
                             8 He fails to establish standing under the ADA, and his SAC should be dismissed.
                             9        C.     Strojnik Fails to Allege Facts Showing He Is Deterred From
                       10                    Returning to Defendant’s Hotel.
                       11             Strojnik also fails to allege he was or is deterred from visiting the Hotel. To
                       12 demonstrate deterrence, a plaintiff must allege “actual knowledge of illegal barriers
                       13 at a public accommodation to which he or she desires access” and that a defendant’s
                       14 failure to comply with the ADA deters him or her from making use of the defendant’s
                       15 facility.” Civil Rights Educ. & Enf’t Ctr. v. Hosp. Properties Tr. (CREEC), 867 F.3d
                       16 1093, 1098 (9th Cir. 2017). However, “deterrence cannot be merely “conjectural or
                       17 hypothetical.” Vogel v. Salazar, No. SACV 14-00853-CJC (DFMx), 2014 U.S. Dist.
                       18 LEXIS 1513, at *2 (C.D. Cal. Oct. 24, 2014). Rather, a plaintiff must show that he
                       19 would return but for the alleged barriers. Feezor v. Sears, Roebuck & Co., 608 F.
                       20 App’x 476, 477 (9th Cir. 2015).
                       21             Conclusory statements regarding that a plaintiff “was deterred” will not
                       22 suffice; rather, corroborating facts are necessary. See Blue Ravine, 2012 U.S. Dist.
                       23 LEXIS 102056, at *11-*12 (quoting Chapman, 631 F.3d at 949); see Strojnik v.
                       24 Bakersfield Convention Hotel I, LLC, No.. 19-cv-01098 LJO JLT, 2020 U.S. Dist.
                       25 LEXIS 16339, *13 (E.D. Cal. Jan. 31, 2020) (“Mere conclusory statements that an
                       26 ADA plaintiff intends to return and is deterred from returning to a place are
                       27 insufficient.”). For example, in Vogel, the court found the plaintiff lacked standing
                       28 because he failed “to assert or point to any colorable facts to prove that his assertion
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                             1 of deterrence is not merely hypothetical.” Id., 2014 U.S. Dist. LEXIS 1513, at *2.
                             2 There, the court found that phrases such as “because of physical and intangible
                             3 barriers,” “he has been deterred, and he continues to be deterred from visiting the
                             4 Restaurant,” were too conclusory to confer standing. Ibid.
                             5        Similarly, here, Strojnik again fails to allege any facts showing his intent to
                             6 return is anything more than hypothetical. “Although the complaint alleges that
                             7 plaintiff intends to visit the Hotel once it is ADA-compliant, this, as discussed, is
                             8 simply not enough.” Strojnik v. Hotel Circle GL Holdings, LLC, No. 19-cv-01194-
                             9 DAD-EPG, 2019 U.S. Dist. LEXIS 202591, at *14 (E.D. Cal. Nov. 21, 2019) (citing
                       10 Lujan, 504 U.S. at 564). “Plaintiff does not allege any facts that he actually would
                       11 return to the [Hotel] if it were ADA compliant.” Id. (quoting Vogel, 2014 U.S. Dist.
                       12 LEXIS 1513, at *2). For example, plaintiff has not alleged that he visits the
                       13 “Disneyland area” often or that he will go to the area again in the future. “There are
                       14 also no allegations as to why Plaintiff prefers this particular [Hotel] property, as
                       15 opposed to others in the ‘Disneyland area.’” Strojnik v. Orangewood LLC, No. CV
                       16 19-00946 DSF (JCx), 2020 U.S. Dist. LEXIS 11743, at *26 (C.D. Cal. Jan. 22, 2020)
                       17 (emphasis added). “Plaintiff’s conclusory statement that he is deterred from visiting
                       18 [the Hotel] are insufficient to demonstrate that he would [stay at the Hotel] if it were
                       19 accessible. As a result, he lacks standing to pursue his claims.” Feezor, 608 F. App’x
                       20 at 477 (9th Cir. 2015). Thus, Strojnik’s alleged deterrence is unsupported.
                       21             Having failed to allege any actual ADA violations that deterred him from
                       22 visiting the Hotel in the first place, and provided no facts showing that he will be
                       23 deterred from doing so in the future, Strojnik has therefore failed to sufficiently
                       24 establish deterrence as a basis for standing. Strojnik fails to state a claim under the
                       25 ADA and has no standing to bring this suit. His SAC should be dismissed with
                       26 prejudice.
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                             1 V.      STROJNIK FAILS TO STATE A CLAIM UNDER THE ADA
                             2         For all of the reasons above and set forth in the Motion, Plaintiff also fails to
                             3 state a claim under the ADA. He does not identify any barriers or how they actually
                             4 impaired his use of the Hotel. “[B]ecause he did not state what was missing from
                             5 [the hotel’s] website or connect that missing information to his disability, Strojnik
                             6 has not stated an ADA claim.” (Dkt. 25 at *7-8). Moreover, because “Strojnik has
                             7 not explained how alleged [physical] barriers deny him full and equal access as a
                             8 result of his disability,” his SAC also fails to state a physical barrier claim. Id. at 8.
                             9 VI.     STROJNIK’S STATE LAW CLAIMS MUST ALSO BE DISMISSED.
                       10              Plaintiff’s state law disability claims also still fail. As the Court held in its
                       11 recent order, “where a Court lacks Article III jurisdiction over a plaintiff’s ADA
                       12 claim for lack of standing, the Court has no discretion to retain supplemental
                       13 jurisdiction over the plaintiff’s remaining state law claims. (Dkt. 25, citing Scott v.
                       14 Pasadena Unified Sch. Dist., 306 F.3d 646, 664 (9th Cir. 2002).)
                       15               Moreover, standing to pursue monetary relief under the DPA and the Unruh
                       16 Act differs from standing to seek injunctive relief under the ADA. See Reycraft v.
                       17 Lee, 177 Cal. App.4th 1211 (2009); see also Angelucci v. Century Supper Club, 41
                       18 Cal.4th 160, 175 (2007). These statutes restrict damages recovery to situations where
                       19 “the plaintiff personally encountered the violation on a particular occasion, or the
                       20 plaintiff was deterred from accessing a place of public accommodation on a particular
                       21 occasion. Rodriguez v. Barrita, Inc., 10 F. Supp. 3d 1062, 1076 (N.D. Cal. 2014)
                       22 (emphasis added). Unlike the ADA, these statutes require “something more than
                       23 mere awareness of or a reasonable belief about the existence of discriminatory
                       24 condition.” Id.
                       25              Strojnik did not personally encounter any barriers. He merely points to website
                       26 photos which he claims amounted to barriers, without explanation of how they relate
                       27 to his disability or how they would have prevented him access. A plaintiff cannot
                       28 recover damages under the Unruh Act unless the violation actually denied him or her
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                             1 equal access to some public facility. Urhausen v. Long Drug Stores Cal., Inc., 155
                             2 Cal. App. 4th 254, 265-66 (2007). In Urhausen, the court rejected the plaintiff’s
                             3 attempt to equate a “denial of equal access” with the presence of a violation of federal
                             4 or state regulations. Ibid. As the court held, under that theory,
                             5                 Any disabled person could sue for statutory damages
                                               whenever he or she encountered noncompliant facilities,
                             6                 regardless of whether that lack of compliance actually
                                               impaired the plaintiff’s access to those facilities. Plaintiff’s
                             7                 argument would thereby eliminate any distinction between
                                               a cause of action for equitable relief under section 55 and a
                             8                 cause of action for damages under section 54.3…
                                 Ibid.
                             9
                                         In Strojnik’s state law causes of action, he cannot allege that he was actually
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                                 denied access to the Hotel. Although he alleges that he experienced barriers, he fails
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                                 to explain how those alleged barriers impaired his ability to access the Hotel or its
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                                 services—especially when it is apparent that, while he may experience pain, he is not
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                                 in a wheelchair and does not use a wheelchair. “[T]he cases interpreting the Act have
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                                 consistently held that an individual plaintiff has standing to bring claims thereunder
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                                 only if he or she has been the victim of defendant’s discriminatory act.” Surrey v.
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                                 TrueBeginnings, LLC, 168 Cal.App.4th 414, 419 (2008). Thus, if he is able to
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                                 “ambulate,” it is irrelevant whether there are inaccessible counters or improper
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                                 hardware, as alleged in the SAC.
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                                         Notably, the Victus Court recently declined, sua sponte, to exercise
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                                 supplemental jurisdiction over Strojnik’s state claims because they “substantially
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                                 predominate over the single ADA claim given the “amount and nature of the total
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                                 relief requested.” No. 1:18-cv-01620-AWI-SKO, ECF No. 16 at 6-7. Although the
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                                 Victus court provided Strojnik with leave to amend, it held that he cannot include the
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                                 state law claims in his amended complaint. Here too Strojnik seeks primarily
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                                 monetary relief, and his state law claims predominate over his The Court here should
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                                 similarly decline to exercise supplemental jurisdiction over Plaintiff’s state law
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                                 claims regardless of its decision on his ADA standing.
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                             1 VII. STROJNIK’S            NEGLIGENCE            CLAIM      SHOULD         ALSO      BE
                             2         DISMISSED
                             3         As with the DPA and Unruh claims, this Court has only supplemental
                             4 jurisdiction over Plaintiff’s negligence cause of action. If Plaintiff lacks standing to
                             5 bring his ADA claim, there is no reason the Court retain jurisdiction over Plaintiff’s
                             6 negligence claim. Concern for judicial economy supports declining jurisdiction. See
                             7 Johnson v. Torres Enters. LP, 2019 U.S. Dist. LEXIS 11124, at *11 (N.D. Cal. Jan.
                             8 22, 2019).
                             9 VIII. THE COURT SHOULD DENY LEAVE TO AMEND
                       10              As a general rule, leave to amend a complaint that has been dismissed should
                       11 be freely granted. Fed. R. Civ. P. 15(a). However, leave to amend may be denied
                       12 when “the court determines that the allegation of other facts consistent with the
                       13 challenged pleading could not possibly cure the deficiency.” Schreiber Distrib. Co.
                       14 v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986).
                       15              This is Strojnik’s third attempt at adequately pleading this case. Yet he still
                       16 fails to allege facts sufficient to confer standing or to state a claim. The Court has
                       17 no reason to believe that Strojnik can bring forth a viable claim in this action. The
                       18 Court should dismiss Strojnik’s SAC with prejudice to prevent further use and
                       19 abuse of judicial resources.
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                             1 IX.    CONCLUSION
                             2        For the foregoing reasons, Defendant requests that this Court grant its Motion
                             3 to Dismiss the Second Amended Complaint with prejudice pursuant to Fed. R. Civ.
                             4 P. 12(b)(1) and (6).
                             5 DATED: May 4, 2020                     BUCHALTER
                                                                      A Professional Corporation
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                             7
                                                                      By: /s/ Rick A. Waltman
                             8                                                     TRACY A. WARREN
                                                                                   RICK A. WALTMAN
                             9                                                    Attorneys for Defendant
                                                                          SCG AMERICAN CONSTRUCTION
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                             1                             CERTIFICATE OF SERVICE
                             2         I hereby certify that on May 4, 2020, I electronically filed the above document
                             3 with the Clerk of the Court using CM/ECF which will send electronic notification of
                             4 such filing to all registered counsel.
                             5
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                                                                        By: /s/ Rick A. Waltman
                                                                               Rick A. Waltman
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